                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


     IN RE:                                   )
                                              ) Case No. 3:19-bk-07235
     CUMMINGS MANOOKIAN, PLLC,                ) Chapter 7
                                              ) Judge Walker
                Debtor.                       )
                                              )


                     BRIAN MANOOKIAN’S OBJECTION TO
                  PROPOSED CHASE CLAIM AND SETTLEMENT


         Brian Manookian is an attorney and the sole member and owner of Cummings

 Manookian, PLLC. For the reasons articulated below, Mr. Manookian objects to the

 Chase Parties’ proposed claim and settlement with the Bankruptcy Estate. The date to

 file responses or objections to the Trustee’s Motion is July 27, 2021 and the date of the

 scheduled hearing is August 11, 2021.1

                                 I.    INTRODUCTION

         The Chase Claim rests on a judgment in a state court contempt proceeding that has

 since been vacated by the Tennessee Court of Appeals.2 After having their Petition for

 Rehearing denied, the Chase Parties offered to resolve their claims with Cummings

 Manookian in exchange for a $0 walk-away and mutual release.3 Inexplicably, the

 Trustee now proposes to negotiate up that offer to $250,000.




 1 The parties have agreed to postpone the hearing date due to a scheduling conflict and
 will file a proposed agreed order for the Court’s consideration after all objectors are
 identified and consulted.
 2 Chase v. Stewart, et al., No. M2018-01191-COA-R3-CV (Tenn. Ct. App. 2021), attached

 as Exhibit 1.
 3 Correspondence from Charlie Malone, March 18, 2021, attached as Exhibit 2.



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       Because the Chase Claim arises entirely out of a vacated and facially frivolous

 contempt proceeding; because the established and negotiated value of the Chase Claim is

 zero dollars; and because the negotiations between the Chase Parties and Special Counsel

 to the Trustee are rife with actual conflict and the appearance of a quid pro quo, Mr.

 Manookian requests that the proposed settlement be rejected.


                                     II.    FACTS

 A.    The Underlying Chase v. Stewart Matter

       In 2015, Brian Manookian agreed to represent six defendants, pro bono, in a

 Williamson County Circuit Court case styled Chase v. Stewart (“the Chase Matter”). The

 Chase Matter was a malicious prosecution suit brought by real estate developer David

 Chase. Mr. Chase had been arrested during the early morning hours of June 8, 2014 for

 domestic violence after beating his girlfriend. Upon being booked into the Davidson

 County jail, Mr. Chase contacted attorney Bryan Lewis, who in turn called General

 Sessions Judge Casey Moreland, who arranged for Mr. Chase to be released from jail –

 notwithstanding a mandatory hold period – at which time Mr. Chase returned to his home

 and assaulted his girlfriend a second time, leading to his immediate re-arrest, national

 headlines, and, ultimately the Chase Matter.

       David Chase filed Chase v. Stewart contending that various individuals conspired

 to have him arrested for domestic violence for the purpose of ruining his reputation and

 depriving him of his burgeoning career in real estate development. Brian Manookian, a

 partner with the firm Cummings Manookian PLLC, agreed to represent six (6) of the eight

 (8) defendants in Mr. Chase’s lawsuit, and moreover, to do so on a pro bono basis.




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        As part of his representation, Mr. Manookian set out to prove that the dismissal of

 the criminal charges against Mr. Chase were not on the merits, but rather secured as part

 of a release-dismissal agreement with the Davidson County District Attorney. Doing so

 would defeat a central element of a malicious prosecution claim, in that the underlying

 charge must be dismissed on the merits as opposed to resulting from a negotiated

 settlement.

        Toward that end, Mr. Manookian subpoenaed targeted materials from David

 Chase’s employers, business entities, and parents (hereinafter “the Chase Parties”). On

 August 31, 2015, the Chase Parties responded by filing a Motion for the Entry of an Agreed

 Limited Protective Order (hereinafter the “ALPO”) covering a narrow, specifically defined

 set of materials that could potentially be viewed as confidential.

        The Trial Court never entered the ALPO as submitted by the Chase Parties, and the

 Chase Parties themselves immediately disregarded its terms. As such, and in the absence

 of any Order to the contrary, Brian Manookian disseminated certain of the Chase Parties’

 discovery materials to Media Outlets, the U.S. Attorney’s Office, and the Federal Bureau

 of Investigation.

        The Chase Parties responded by petitioning the Trial Court to hold Brian

 Manookian and Cummings Manookian in contempt of court for purported “violations” of

 a protective order that did not exist at the time of Mr. Manookian’s dissemination.

        Deep into the pendency of the years-long contempt proceedings, the Trial Court

 Judge, Michael Binkley, revealed that he held a pervasive personal animus against Brian

 Manookian over its belief that Mr. Manookian had filed a complaint with the Board of

 Judicial Conduct that led to widespread media reporting of the Trial Court Judge’s arrest

 for solicitation of prostitution.


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        Brian Manookian and Cummings Manookian quickly moved for the Trial Court’s

 recusal. The Trial Court not only refused to do so but began swiftly entering orders

 finding Manookian in contempt of court and awarding $748,769.21 in civil contempt

 damages against him and his law firm.

        Brian Manookian and Cummings Manookian promptly appealed the Trial Court’s

 Orders; arguing that the Trial Court was required to recuse itself from the matter; that the

 Trial Court’s findings were not based in fact or law, but rather on an extreme,

 impermissible personal biases; and that, in any event, Brian Manookian and Cummings

 Manookian could not be held in contempt for violating an Order that did not exist.

 B.     Appointment of Phillip Young as a Receiver in the State Action

        While the Chase Appeal was pending, the Chase Parties filed a collections action

 asking the Williamson County Chancery Court to create a receivership over Cummings

 Manookian’s accounts receivable and to specifically appoint Attorney Phillip Young as the

 Receiver to collect the $748,769,21 awarded by Judge Michael Binkley. The State Court

 did so, and Philip Young immediately began placing liens on Cummings Manookian’s

 receivables and levying them as they came due.

        Mr. Young collected tens of thousands of dollars owed to Cummings Manookian,

 ultimately paying all of that money to himself, and, in the meantime, instituting new

 adverse proceedings against Cummings Manookian, including seeking monetary awards

 against Cummings Manookian and asking the Court to hold Cummings Manookian in

 contempt.

 C.     Appointment of Phillip Young as Special Counsel in this
        Bankruptcy Proceeding

        While Phillip Young was acting as Receiver in the State Court Action – and while



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 the Chase Appeal was still pending – Mr. Manookian filed for bankruptcy on behalf of

 Cummings Manookian; in part, to seek protection from the increasingly punitive actions

 Phillip Young was taking against Cummings Manookian at the request of the Chase

 Parties.

          The Bankruptcy Trustee petitioned to have Phillip Young – the same attorney who

 was concurrently pursuing Cummings Manookian’s receivables on behalf of the Chase

 Parties as well as pursuing new sanctions against Cummings Manookian in the State

 Action – appointed as her Special Counsel in the Bankruptcy matter. Her request was

 granted over Mr. Manookian’s objection, and Phillip Young began serving dual roles as

 Counsel for the Trustee in Cummings Manookian’s Bankruptcy as well as Receiver in the

 Chase Parties’ state court lawsuit against Cummings Manookian; roles in which he

 continues to serve as of the time of this filing.

 D.       The Court of Appeals’ Decision and Denial of Rehearing

          On February 4, 2021, the Tennessee Court of Appeals released its holding in Chase

 v. Stewart. The Court of Appeals vacated the judgment of $748,769,21, finding that Judge

 Michael Binkley should have recused himself as a result of an appearance of bias; and

 further finding that the bias had existed for so long as to justify his retroactive recusal.

          The Chase Parties petitioned the Court of Appeals for rehearing. Their Petition

 was denied in a multi-page order issued on March 16, 2021.4

 E.       The Chase Parties’ Offer of a Walk-Away

          Two days after the Tennessee Court of Appeals denied the Chase Parties’ Petition

 for Rehearing, the Chase Parties sent a settlement letter to Counsel for Brian Manookian



 4   Chase v. Stewart, Order on Petition for Rehearing, attached as Exhibit 3.

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 offering to “walk-away” from their purported claims against Brian Manookian and

 Cummings Manookian in exchange for no payment and with all parties executing mutual

 releases. The letter indicated that the Chase Parties would seek agreement for the “walk-

 away” settlement on behalf of Cummings Manookian from the Trustee.

 F.     The Chase Parties’ Unexplained Withdrawal from Negotiations
        and Simultaneous, Gratuitous Payment of Phillip Young’s Fees in
        the State Action

        Days after offering a walk-away settlement on their now-vacated claims, the Chase

 Parties sua sponte and gratuitously announced they had agreed to pay all of Phillip

 Young’s outstanding fees in the State Collections action. This was significant for Mr.

 Young. As the Receiver of a collections action where the underlying judgment had been

 vacated, Mr. Young stood the likelihood of not only having his outstanding fees unpaid,

 but also having Cummings Manookian and the other parties against whom he had seized

 receivables and which he remitted to himself as Receiver, seek reassessment and

 repayment.5

 G.     The Chase Parties New Proposed Settlement with State
        Receiver / Federal Bankruptcy Special Counsel Phillip Young

        Shortly after having gratuitously agreed to pay Receiver Phillip Young’s

 outstanding fees in the State Action, the Chase Parties and Special Counsel Phillip Young

 in the Bankruptcy Matter entered into a new settlement which is drastically worse for

 Cummings Manookian than the previously proposed “walk-away,” but provides a quarter-

 million-dollar windfall for the Chase Parties.


 5Indeed, at least one other Defendant in the state collections case, Hammervold PLC, has
 asked the State Trial Court to refund its receivables which were ultimately paid to Phillip
 Young. That request is currently pending before the Court. Phillip Young, as Special
 Counsel in the Bankruptcy matter, has not asked the State Court to refund Cummings
 Manookian’s money paid to Receiver Phillip Young.

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        In exchange for releasing the vacated claims which the Chase Parties had

 previously only required a non-payment and mutual release, Special Counsel Phillip

 Young now proposes to pay the Chase Parties $250,000.


                                   III.   ARGUMENT

        The proposed claim and settlement with the Chase Parties should be rejected.

 Cummings Manookian has no liability to the Chases.            Cummings Manookian has

 prevailed twice on appeal. The Chase Parties have appropriately and recently valued their

 own claims at $0 by offering a walk-away. That walk-away was apparently scuttled by

 new, and dubiously-ethical, negotiations by a conflicted Special Counsel with a result

 highly suggestive of a quid pro quo.

        Moreover, the Chases’ “claims” which Special Counsel seeks to compromise are

 facially frivolous and will cost Cummings Manookian nothing to defend – if such claims

 are even pursued. The proposed settlement is, at best, not remotely in the interest of the

 Bankruptcy Estate and, at worst, the result of conflicted self-dealing on behalf of the

 Chase Parties and Mr. Young. Brian Manookian, as the sole owner and member of

 Cummings Manookian, objects to its terms.

 A.     Cummings Manookian Has No Liability to the Chase Parties

        As a threshold matter, it bears emphasis that Cummings Manookian has zero

 current or likely liability to the Chase Parties. The Chase Parties “claim” is the threat of

 proceeding with a facially-frivolous contempt petition which has now been vacated and

 denied for rehearing. As a result, there is no existing judgment against Cummings

 Manookian for the Trustee to “compromise,” nor is there likely to ever be one.

        1.     Cummings Manookian has Repeatedly Prevailed Against the
               Chase Parties on Appeal


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          The Chase Parties’ Claim, as originally filed in this bankruptcy action, consisted of

 a $748,000 judgment from the Williamson County Circuit Court. That judgment has now

 been vacated, and the petition for rehearing has been denied. The only legally-binding

 basis for the Chase’s assertion that Cummings Manookian once owed them money no

 longer exists. At best and at present, the Chase Parties are left with a set of unproven

 allegations in a state court contempt proceeding; an action that may not even be currently

 prosecuted against Cummings Manookian.

          2.     The Chase Parties Existing “Claim” is Properly Valued at a
                 Walk-Away

          As recognized by the Chase Parties, the proper value of their existing “claim” is

 zero.6 Following the denial of their Petition for Rehearing with the Tennessee Court of

 Appeals, the Chase Parties sought to compromise their “claim” against Cummings

 Manookian and the other parties involved in the contempt proceeding in exchange for a

 mutual release and walk-away.

          The Chase Parties sought a walk-away, in part, because they justifiably now fear

 being sued for damages by Cummings Manookian to recover the funds that were levied

 by State Court Receiver Phillip Young. Stated alternatively, Cummings Manookian has

 legitimate and cognizable claims against the Chase Parties as a result of their seizing funds

 through Receiver Phillip Young for which they no longer hold a judgment.

          The idea that Cummings Manookian would pay any sum of money to the Chase

 Parties – much less $250,000 – after (1) the underlying judgment has been vacated, (2)

 the Chase Parties have nevertheless seized funds belonging to Cummings Manookian



 6   See Exhibit 2.

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 without returning them post-vacated judgment, and (3) the Chase Parties have offered a

 $0 walk-away and mutual release is farcical. Rather than act in the Bankruptcy Estate’s

 interest, Special Counsel for the Trustee proposes to negotiate up Cummings

 Manookian’s liability from $0 to a quarter of a million dollars.

        3.     The Underlying Chase Claims are Facially Frivolous

        In any event, the underlying claims in the contempt proceeding are facially

 frivolous. The gravamen of the Chases’ Contempt Proceeding is a claim that Brian

 Manookian violated a protective order by disseminating discovery materials to the media

 and law enforcement. But the protective order had not been entered at the time of Mr.

 Manookian’s dissemination. It is axiomatic that one cannot violate an order that does not

 exist. Likewise, one cannot be held in contempt for taking otherwise lawful actions that

 have not been proscribed by a Court. Finally, the Chase Parties have conceded they have

 no damages from Mr. Manookian’s actions other than incurring attorney’s fees in

 pursuing the contempt proceeding itself. The underlying, unproven, and unproveable

 “claims” the Trustee proposes to settle are facially frivolous.


 B.     THE TRUSTEE HAS FAILED TO INVESTIGATE THE CHASE CLAIM

        It is additionally worth emphasizing – because it is emblematic of a consistent

 issue in this case – that the Trustee appears to have made little to no effort to investigate

 the Chase Claim or subject it to minimal scrutiny. Special Counsel for the Trustee, Phillip

 Young, did not even contact the attorneys who represented Cummings Manookian in the

 appeal or underlying contempt proceedings to evaluate the merits of the claim.

        Indeed, it is difficult to address the Trustee’s reasoning for proposing a quarter

 million-dollar settlement with the Chase Parties because no reasoning is ever articulated



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 in its proposal. The Trustee appears to suggest that there is some uncertainty as to

 whether the Court of Appeals’ opinion impacts the judgment against Cummings

 Manookian. This is either a deliberate attempt to mislead this Court or a display of

 profound misunderstanding of basic litigation. The only judgment against Cummings

 Manookian was the same order that the Court of Appeals entirely vacated.

       Likewise, the Trustee appears to suggest that because the underlying contempt

 proceeding dragged on for a number of years that Cummings Manookian could possibly

 incur costs in defending a renewed proceeding. Preliminarily, this presumes that the

 Chase Parties will renew the proceeding, which Mr. Manookian believes is highly unlikely.

 But moreover, it fails to consider (and the Trustee, in fact, failed to even inquire into)

 Cummings Manookian’s costs in defending the prior action: $0.

       Cummings Manookian’s liability to the Chase Parties is entirely derivative.

 Cummings Manookian may only be held liable if its agent, Brian Manookian, is found

 liable. Brian Manookian has – and will continue to – vigorously defend any action by the

 Chase Parties at no expense to Cummings Manookian.

       In sum, the Trustee has neither adequately scrutinized the Chase Claim or

 articulated any bases in the interest of the Bankruptcy Estate for a significant payment;

 or why that payment should be $250,000 as opposed to any other randomly selected

 number. Instead, the Trustee bizarrely frames her proposal as a negotiation down from

 a vacated $750,000 judgment when, in reality, she has negotiated up from the currently

 existing $0 obligation and the contemporaneously proposed $0 walk-away.




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 C.     SPECIAL COUNSEL HAS NEGOTIATED A DEAL RIFE WITH
        ACTUAL CONFLICTS AND HIGHLY SUGGESTIVE OF A QUID
        PRO QUO

        As articulated above, Special Counsel Phillip Young has significant, ongoing actual

 conflicts that are particularly egregious in his dealings on behalf of the Bankruptcy Estate

 with the Chase Parties. Prior to the Bankruptcy Filing, the Chase Parties sued Cummings

 Manookian and asked the Court specifically to appoint Phillip Young as the Receiver to

 levy Cummings Manookian’s receivables. In that role, Receiver Phillip Young has seized

 money belonging to Cummings Manookian, paid himself that money, and pursued new

 punitive actions against Cummings Manookian. The position staked out by Mr. Young as

 Receiver is undeniably and expressly adverse to Cummings Manookian and beneficial to

 the Chase Parties – and it continues to be.

        In his concurrent role as Special Counsel in Cummings Manookian’s bankruptcy,

 Phillip Young has declined to institute any action to recoup the Cummings Manookian

 money paid to Receiver Phillip Young in fulfillment of a now-vacated judgment. And in

 what is highly suggestive of a quid pro quo (and conclusive of an actual conflict), Special

 Counsel Phillip Young proposes to pay the Chase Parties $250,000 of Cummings

 Manookian’s funds in the Bankruptcy Proceeding shortly after the Chase Parties

 gratuitously agreed to pay Receiver Phillip Young’s fees in the Cummings Manookian

 collections action. Particularly in light of their days-earlier offer of a walk-away, this

 arrangement gives the appearance that the Chase Parties have secured a payment of

 Cummings Manookian’s funds from Special Counsel Phillip Young in exchange for

 making a payment to Receiver Phillip Young.

        Brian Manookian will shortly be filing a comprehensive Motion to Disqualify

 Phillip Young following receipt of certain materials in the state collections action. In the


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 interim, Mr. Manookian objects to the proposed settlement negotiated by Phillip Young

 serving dual roles as both Receiver and Special Counsel.


                                 IV.    CONCLUSION

       For all of the foregoing reasons, Mr. Manookian objects to the proposed claim and

 settlement with the Chase Parties.


 Date: July 27, 2021                            Respectfully submitted,


                                                /s/ John Spragens
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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed July 27, 2021 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                 /s/ John Spragens




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